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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                     Miami Division
                                   www.flsb.uscourts.gov

In re:                                                       Chapter 11

FF FUND I, L.P.,                                             Case No. 19-22744-BKC-LMI
F5 BUSINESS INVESTMENT PARTNERS, LLC,                        Case No. 20-10996-BKC-LMI

                Debtors.                                     Jointly Administered Under
                                                             Case No. 19-22744-BKC-LMI
___________________________________________/

SONEET R. KAPILA not individually but                        ADV. No. 22-1017-BKC-LMI
as Liquidating Trustee of the FF FUND
LIQUIDATING TRUST,

Plaintiff,

v.

F1 GENERAL TRADING PARTNERS, L.P., et al.,

      Defendants.
_________________________________________________/

              LIQUIDATING TRUSTEE’S MOTION TO DISMISS
     ADVERSARY COMPLAINT WITH PREJUDICE AND FOR RELATED RELIEF

         Plaintiff, Soneet R. Kapila (the “Liquidating Trustee” or “Plaintiff”), in his capacity as

Liquidating Trustee of the FF Fund Liquidating Trust and the F5 Liquidating Trust (collectively,

the “Liquidating Trusts”), as successors respectively to FF Fund I, L.P. (the “FF Fund Debtor”)

and F5 Business Investment Partners, LLC (the “F5 Debtor”) (the FF Fund Debtor and the F5

Debtor collectively the “Debtors”), by and through undersigned counsel, files this Motion to

Dismiss Adversary Complaint With Prejudice and for Related Relief (this “Motion”) pursuant to

Fed. R. Civ. P. 41(a)(2), made applicable in bankruptcy proceedings by Fed.R.Bankr. P. 7041. In

support of this Motion, the Liquidating Trustee respectfully states as follows:



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I.      BACKGROUND

        1.       On September 24, 2019 (the “FF Fund Petition Date”), the FF Fund Debtor filed a

voluntary petition for relief under Chapter 11 of the Bankruptcy Code in the United States

Bankruptcy Court for the Southern District of Florida, Miami Division (the “Bankruptcy Court”)

under Case No. 19-22744-LMI (the “FF Fund Case”).

        2.       On January 24, 2020 (the “F5 Petition Date”), the F5 Debtor filed a voluntary

petition for relief under Chapter 11 of the Bankruptcy Court under Case No. 20-10996-LMI (the

“F5 Case”). The FF Fund Case and the F5 Case are being jointly administered pursuant to Order

of the Bankruptcy Court under the FF Fund Case (the “Bankruptcy Cases”) entered on February

4, 202 [ECF No. 98].

        3.       On May 18, 2021, the Debtors prepared and filed their (i) Second Amended Chapter

11 Plan of Reorganization Proposed by FF Fund I, L.P. [ECF No. 468] (the “Second FF Fund

Plan”), and (ii) Second Amended Chapter 11 Plan of Reorganization Proposed by F5 Business

Investment Partners, LLC [ECF No. 469] (the “Second F5 Plan”) (collectively, the “Second

Amended Plans”).1 Pursuant to the Second Amended Plans, the Debtors sought confirmation

under the Liquidating Trust Alternative.

        4.       On June 4, 2021, the Court entered an Order Confirming Debtors’ Second Amended

Plans of Reorganization Dated May 18, 2021 [ECF No. 494] (the “Confirmation Order”), which

Confirmation Order implemented the Liquidating Trust Alternative. The Effective Date for each

of the Second Amended Plans was June 14, 2021 [ECF No. 502] (the “Effective Date”).

        5.       Pursuant to the Second Amended Plans and the Confirmation Order, (i) the FF Fund

Liquidating Trust and the F5 Liquidating Trust were created and all property of the respective


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 Capitalized terms used herein and not otherwise defined shall have the meanings set forth in the Second Amended
Plans (as defined below).


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bankruptcy estates of the FF Fund Debtor and the F5 Debtor was transferred to the FF Fund

Liquidating Trust and the F5 Liquidating Trust respectively (collectively, the “Liquidating

Trusts”), and (ii) the Trustee was appointed as the liquidating trustee for each of the Liquidating

Trusts, which the sole authority, among other things, to sell, liquidate, monetize, transfer and/or

assign any and all such assets.

II.    ADVERSARY PROCEEDINGS

       6.      To implement and effectuate his mandate under the confirmed Second Amended

Plans and Liquidating Trusts, among other things, the Liquidating Trustee filed on January 24,

2022, the instant adversary proceeding, together with the three (3) other adversary proceedings

seeking the recovery of certain asserted avoidable transfers as follows:

           On January 24, 2022, the Liquidating Trustee filed an adversary proceeding (Adv. Case
            No. 22-01016-LMI) against Blue Devil 83, LLC seeking the recovery of certain asserted
            avoidable transfers (the “Blue Devil Adversary”). On February 7, 2024, the
            Liquidating Trustee and Blue Devil agreed to dismiss such adversary proceeding and
            filed a Joint Notice of Stipulated Dismissal [ECF No. 40 in Adv. Case No. 22-01016-
            LMI].

           On January 24, 2022, the Liquidating Trustee filed an adversary proceeding (Adv. Case
            No. 22-01018-LMI) against Kloe Korby seeking the recovery of certain asserted
            avoidable transfers (the “Korby Adversary”). On January 31, 2024, the Liquidating
            Trustee filed a voluntary Notice of Dismissal of such adversary proceeding [ECF No.
            8 in Adv. Case No. 22-01018-LMI].

           On January 16, 2023, the Liquidating Trustee filed an adversary proceeding (Adv. Case
            No. 23-01008-LMI) against Dimension Capital Management seeking the recovery of
            certain avoidance transfers (the “Dimension Adversary”). On January 20, 2023, the
            Liquidating Trustee and Dimension resolved the adversary and filed a Notice of
            Stipulated Dismissal [ECF No. 4 in Adv. Case No. 22-01008-LMI].

           On January 24, 2022, the Liquidating Trustee commenced this adversary proceeding
            (Adv. Case No. 22-01017-LMI) against each of F1 General Trading Partners, L.P., F3
            Real Estate Partners, LLC, F7 Group Operating Partners, LLC, FF Fund Management,
            LLC, FF Trading Management, LLC, FF Reserve Account, LLC, Andrew T. Franzone,
            LLC (the “Franzone Defendants”) seeking the recovery of certain avoidance transfers.

(collectively, the “Adversary Cases”).


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       7.      After the filing of the above Adversary Cases, the Liquidating Trustee was

successful in monetizing one of the investments held by FF Fund in Coreweave, Inc.

(“Coreweave”). After substantial amount of work in evaluating the Coreweave investment and

the various methods and means of monetizing such investment, on November 14, 2023, the

Liquidating Trustee filed a sealed motion with the Court for authority to accept a tender offer for

the Coreweave Investment [ECF No. 629, the “Motion for Authority”]. Due to confidentiality

obligations, the Liquidating Trustee requested and the Court entered orders authorizing the Motion

for Authority and related pleadings to be filed under seal, and the hearing thereon to be conducted

under seal. See ECF Nos. 624, 626, 627, 628 and 630. Based on the Motion for Authority and the

proffer of the Liquidating Trustee’s testimony regarding his business decision at the hearing

thereon, the Court granted the Motion for Authority and entered an order authorizing the

Liquidating Trustee to participate in the Coreweave tender offer [ECF No. 633, the “Approval

Order”]. The Coreweave tender offer was oversubscribed and as a result the Trustee was only able

to monetize a portion of the FF Fund Liquidating Trust’s investment in Coreweave for an amount

equal to $55,526,033.24.

       8.      The Liquidating Trustee is in possession of such funds, which are invested, and has

obtained a bond thereon for the benefit of the Liquidating Trusts. The FF Fund Liquidating Trust

also continues to own the remaining portion of the Coreweave Investment, which the Trustee

believes has substantial additional value.

       9.      In addition to managing and monetizing the Coreweave investments, the

Liquidating Trustee reached settlements with certain third parties based on claims and causes of

action asserted by the Liquidating Trustee resulting in the payment of additional monies to the

estates and release of claims.



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        10.      After the Coreweave transaction was consummated, the Liquidating Trustee

proceeded to dismiss the Blue Devil Adversary and the Korby Adversary (having previously

settled and dismissed the Dimension Adversary). The Liquidating Trustee has also indicated a

willingness to dismiss this adversary proceeding in exchange for an agreement that both sides

would be responsible for their own fees and costs. This proposal was communicated to the

Franzone Defendants’ counsel, Dana L. Kaplan, prior to her withdrawal as counsel of record for

Defendants,2 but the offer was declined. Thereafter, on March 26, 2024, John Anthony, Esq. filed

a Notice of Appearance in the case as counsel to the Franzone Defendants. The Liquidating

Trustee extended, through counsel, the same offer to dismiss the adversary case to Mr. Anthony

and the same was declined. On May 13, 2024, Mr. Anthony moved to withdraw as counsel for the

Franzone Defendants [ECF No. 88], which Motion was granted at the hearing on June 5, 2024, at

9:30 a.m.

        11.         On June 22, 2024, a Notice of Appearance was filed by George J. Vila, Esq as

attorney for Defendant, FF Fund Management, LLC [ECF No. 90]. Once again, the Liquidating

Trustee, through counsel, extended an offer to dismiss the adversary case and the same was

declined.

        12.      On June 24, 2024, more than two years following the filing of the original Answer

and Affirmative Defenses to Plaintiff’s Adversary Complaint [ECF No. 10] (the “Answer”), Mr.

Vila, as counsel to FF Fund Management, LLC, filed a Motion for Leave to File Amended Answers,

Affirmative Defenses and Counterclaims [ECF No. 91 in Adv. Case No. 22-01017-LMI] (the

“Motion to Amend”) seeking leave to amend its answer and affirmative defenses, and present its



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  On February 22, 2024, attorney Dana L. Kaplan, filed a Motion to Withdraw as Attorney of Record for Defendants
filed by attorney Dana L. Kaplan on February 22, 2024 [ECF No. 79] which Motion was granted on March 11, 2024
[ECF No. 84].


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counterclaims against Plaintiff (the “Proposed Counterclaims”) to Plaintiff’s Adversary Complaint

[ECF No. 91-1] (the “Proposed Amendment”). Contemporaneously hereunder, the Liquidating

Trustee is filing his opposition to the Motion to Amend, including because the Liquidating Trustee

has indicated a willingness to dismiss this adversary proceeding and because the proposed

counterclaims described therein are meritless and sanctionable as described in more detail in the

Liquidating Trustee’s Response In Opposition to Defendant FF Fund Management’s Motion to

Amend (“Trustee Response”) filed contemporaneously herewith.

III.   ARGUMENT

       13.     Fed.R.Civ.P. 41(a)(2), incorporated by Fed.R.Bankr.P. 7041, provides, in pertinent

part, that "an action shall not be dismissed at the plaintiff's instance, save upon order of the court,

and upon such terms and conditions as the court deems proper." The Rule provides the Court broad

equitable discretion to "weigh the relevant equities and do justice between the parties in each case,

imposing such costs and attaching such conditions to the dismissal as are deemed

appropriate.” E.g., Pontenberg v. Boston Scientific Corp., 252 F.3d 1253, 1255-56 (11th Cir.

2001).The Court must "weigh the relevant equities and do justice between the parties" when

"exercising its broad equitable discretion under Rule 41(a)(2)." Id. at 1256. The "crucial question"

is whether the non-moving party would "lose any substantial right by the dismissal." Id. at 1255

(citation and quotations omitted). See, Four Seasons Trucking, Inc. v. Crawford (In re Crawford),

2018 Bankr. LEXIS 2924 (Bankr. N.D. Ga 2018). If a counterclaim has been pleaded by a

defendant prior to the service upon the defendant of the plaintiff's motion to dismiss, the action

shall not be dismissed against the defendant's objection unless the counterclaim can remain

pending for independent adjudication by the court. See, Novak v. Sherman ( In re Reilly) 265 B.R.

197, 205 ( U.S. Dist. Conn. 2001).




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       14.     Under the Second Amended Plans, the Liquidating Trustee has a duty to maximize

the value of the estate for the benefit of creditors and equity holders, and to avoid unnecessary

costs and expenses. The dismissal of this adversary proceeding aligns with the Liquidating

Trustee’s duties under the Second Amended Plans, the Liquidating Trusts and the Bankruptcy

Code, as it will prevent unnecessary litigation costs and expedite the proposed distribution holders

of allowed claims and interim distribution to limited partners. As there is no legal requirement to

pursue avoidance actions if the creditors’ claims are fully satisfied, the Liquidating Trustee is

fulfilling his duty to maximize the estate for the benefit of creditors and limited partners by seeking

dismissal. Avoiding these actions when creditors are fully paid helps streamline the liquidation

process.

       15.       Although dismissal under Fed. R. Civ. P. 41(a)(2) is generally sought without

prejudice, in this case the Liquidating Trustee is requesting dismissal with prejudice to provide the

Franzone Defendants assurances that they will not face the prospect of another lawsuit related to

the transfers in question. As such, the Court does not have to determine whether dismissal under

Rule 41(a)(2) would be prejudicial to the defendants. The question, then, is whether Franzone

Defendants will lose any substantive rights if the Court dismisses the complaint.

       16.     This adversary case was originally filed on January 24, 2022. On March 1, 2023,

certain of the Franzone Defendants, FF Fund Management and Andrew T. Franzone, LLC, filed

the Answer without asserting any counterclaims. Following the filing of various motions for the

withdrawal of reference and stay of adversary proceeding, the Court issued on August 23, 2022,

the Order Granting in Part Defendants’ Motion for Stay of Adversary Proceeding [ECF No.

30](“Stay Order”). This Stay Order suspended the adversary proceedings for 180 days to allow

for a resolution in the Southern District of New York concerning Mr. Franzone’s criminal action.




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Shortly after entry of the Stay Order, the first of several attorneys for the Franzone Defendants

withdrew as counsel. No other substantive pleadings were filed by the Defendants until the recent

filing of the Motion to Amend which introduces, for the first time in over two years, frivolous

counterclaims against the Trustee and FF Fund Liquidating Trust.

       17.     Since the commencement of the Adversary Cases, the Liquidating Trustee has

diligently administered the estates and determined that additional asset recovery is no longer

necessary to ensure a 100% payout to creditors as provided in the Second Amended Plans. The

Liquidating Trustee has closed the Coreweave Transaction, which will result in a distribution to

beneficiaries of the Liquidating Trust. Consequently, all pre-petition creditors will be paid in full,

and all limited partners will receive a multiple of their investments. Sufficient funds are on hand

to pay all allowed claims in full, negating the need for further asset recovery efforts by the

Liquidating Trustee related to the pursuit of litigation claims. Therefore, dismissal of this

adversary proceeding is appropriate to facilitate the Liquidating Trustee’s completion of the

estates’ administration so that creditors and limited partners may be paid without incurring

additional fees and costs.

       18.     The Liquidating Trustee contends that FF Fund Management will not be lose any

substantive rights if the Court dismisses this Adversary Case. The counterclaims that FF Fund

Management purports to assert against the Liquidating Trust and the Liquidating Trustee in the

Motion to Amend lack merit, as detailed in the Trustee’s Response. Specifically, the Liquidating

Trustee argues that the Defendant, FF Fund Management, seeks to assert baseless claims against

the Liquidating Trust and the Liquidating Trustee. The claims are futile, inconsistent with the

language of the Second Amended Plans, the Confirmation Order and the Liquidating Trust

Agreement, and fail as a matter of law. Additionally, the single claim against the Liquidating




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Trustee for breach of fiduciary duty is futile and fails because the Liquidating Trustee has quasi-

judicial immunity. Therefore, the Motion to Amend should be denied. If the Court agrees with

the Liquidating Trustee’s reasoning in the Trustee’s Response, and the Motion to Amend is denied,

then FF Fund Management would have no counterclaims to be considered under Rule 41(a)(2).

Accordingly, FF Fund Management will not lose any substantive rights if the Court dismisses this

adversary case.

       19.     Based on, and in accordance with, the foregoing, the Liquidating Trustee requests

that the Court grant this Motion and dismiss this adversary proceeding with prejudice, and require

that each party bear its own costs and attorneys’ fees in connection with this adversary proceeding

as part of such dismissal.

       WHEREFORE, the Liquidating Trustee respectfully requests that this Court enter an

order (i) granting this Motion and dismiss this adversary proceeding with prejudice; (ii) order that

each party shall bear their own costs and attorneys’ fees incurred in connection with this adversary

proceeding; and (ii) grant such other and further relief as is just and proper.

       DATED: July 15, 2024.
                                               VENABLE LLP
                                               Attorneys for Soneet R. Kapila, Liquidating
                                               Trustee of the FF Fund Liquidating Trust
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                                                       mguitian@venable.com


                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, on July 15, 2024, a true and correct copy of the foregoing

document was furnished via electronic mail by virtue of the Court’s CM/ECF System to all parties

in interest who have elected to receive notice in this case.


                                               By:     /s/ Paul J. Battista, Esq.
                                                           Paul J. Battista, Esq.




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